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OAO450 (Rev. 5/85) Judgment in a Civil Case

                                     UNITED STATES DISTRICT COURT
                                              District of Minnesota

C. H. Robinson Worldwide, Inc.
                                                          JUDGMENT IN A CIVIL CASE
   V.
                                                                 Case Number: 03-2978 JRT/FLN
Ghirardelli Chocolate Company


    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
    has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED THAT:
    this action is dismissed with prejudice, the Court retaining jurisdiction for forty-five days to permit
    any party to reopen the action, for good cause shown, or to seek enforcement of the settlement
    terms.


                       January 26, 2006                            RICHARD D. SLETTEN, CLERK
Date
                                                                              s/Amy Linner
                                                          (By)                    Amy Linner, Deputy Clerk




                                                                                                   Form Modified: 09/16/04
